
On Application for Rehearing
PER CURIAM.
This suit was consolidated with suit of Darden et ux. v. Zurich Insurance Company et al., La.App., 149 So.2d 713. These two suits were for personal injuries resulting to Mrs. Darden and Doyle F. Harrell as a result of two accidents happening at the same time.
Inasmuch as there were two actions for personal injuries and the limit of the policy of insurance issued by Peerless Insurance Company was $5000.00 for bodih *713injury to any one person and the judgment rendered by this Court on appeal is in excess of the sum of $5000.00 to each person injured, it is ordered that the judgment rendered by this Court against Peerless Insurance Company is hereby limited to the sum of $5000.00 for personal injuries in this suit.
The application for rehearing is refused.
